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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Fnu Brunhilda,                                        Case No.: 21-CV-1299 (PJD/DTS)

                      Plaintiff,

 vs.                                             NOTICE OF WITHDRAWAL OF
                                                         COUNSEL
 Purdue University Global and Indiana
 Commission of Higher Education,

                      Defendants.


       PLEASE TAKE NOTICE that pursuant to Rule 83.7 of the Local Rules, Kyle R.

Kroll, of the law firm of Winthrop & Weinstine, P.A. hereby withdraws as counsel of

record in the above-entitled action for Plaintiff. The undersigned had previously entered a

limited appearance for the purpose of assisting Plaintiff during the February 2, 2022,

motion to dismiss hearing. Given that hearing has concluded, the undersigned respectfully

requests permission to withdraw. If granted, Plaintiff shall continue to be individually

responsible for all other scheduled matters by Court order or operation of the Federal Rules

of Civil Procedure including, but not limited to, appearances at hearings or depositions,

and submitting responses to motions and discovery requests.
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Dated: February 15, 2022                      WINTHROP & WEINSTINE, P.A.

                                              s/ Kyle R. Kroll
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                                              (Through the Pro Se Project)
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